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AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 1                      (11308)



                             United States District Court
                              SOUTHERN DISTRICT OF ALABAMA

        UNITED STATES OF AMERICA                            JUDGMENT IN A CRIMINAL CASE
                      V.
        GERRI J. LILES                                      CASE NUMBER: 1:10-CR-00277-004
        a/k/a Gerri Jarman Liles                            USM NUMBER: 11908-003

                                                            David A. Horton, Esquire
                                                                               Defendant's Attorney
THE DEFENDANT:
X       pleaded guilty to count(s) 1 of the Indictment on 3/22/2011.
        pleaded nolo contendere to count(s)        which was accepted by the court.
        was found guilty on count(s)        after a plea of not guilty.
The defendant is adjudicated guilty of the following offense:

                                                                          Date Offense                Count
Title & Section           Nature of Offense                               Concluded                   No.
18 USC § 1349 & 2         Aiding and abetting a conspiracy                06/01/2007                   1
                          to commit wire and mail fraud.




      The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

        The defendant has been found not guilty on count(s)                .
        Count(s)     is/are dismissed on the motion of the United States.

        IT IS ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant
shall notify the court and the United States attorney of any material change in the defendant's economic
circumstances.
                                                              January 24, 2012
                                                                 Date of Imposition of Judgment


                                                                 /s/ Callie V. S. Granade
                                                                 UNITED STATES DISTRICT JUDGE

                                                                  January 27, 2012
                                                                 Date
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                                                                                                                     Judgment 2

AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 4 - Probation
Defendant: GERRI J. LILES, a/k/a Gerri Jarman Liles
Case Number: 1:10-CR-00277-004
                                                    PROBATION
The defendant is hereby placed on probation for a term of 5 years

SPECIAL CONDITIONS: See attachment.

For offenses committed on or after September 13, 1994:
        The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
        within 15 days of placement on probation and at least two periodic drug tests thereafter, as directed by the probation
        officer.
         X       The above drug testing condition is suspended based on the court’s determination that the defendant poses a low
                 risk of future substance abuse. (Check, if applicable)

         The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
         or is a student, as directed by the probation officer. (Check, if applicable)

         The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

X        The defendant shall not possess a firearm , destructive device, or any other dangerous weapon. (Check, if applicable)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the defendant pay any such fine
or restitution in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall comply with the standard conditions that have been adopted by this court (as set forth below).
The defendant shall also comply with the additional conditions on the attached page (if applicable).

                           STANDARD CONDITIONS OF SUPERVISION
1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the prob. officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training,or other
         acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
         convicted of a felony unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
         of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
         the permission of the court;
13) as directed by the prob. officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and
         to confirm the defendant's compliance with such notification requirement.
14) the defendant shall cooperate, as directed by the probation officer, in the collection of DNA, if applicable, under the provisions
         of 18 U.S.C. §§ 3563(a)(9) and 3583(d) for those defendants convicted of qualifying offenses.
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                                                                                                           Judgment 3
AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 5, Part A - Criminal Monetary Penalties

Defendant: GERRI J. LILES, a/k/a Gerri Jarman Liles
Case Number: 1:10-CR-00277-004

                          CRIMINAL MONETARY PENALTIES
       The defendant shall pay the following total criminal monetary penalties in accordance with the schedule
of payments set forth on Sheet 5, Part B.

                              Assessment                     Fine                          Restitution
        Totals:               $100.00                        $                             $2,043,904.82


        The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case
        (AO 245C) will be entered after such a determination.

X       The defendant shall make restitution (including community restitution) to the following payees in the
        amounts listed below.


If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless
specified otherwise in the priority order or percentage payment column below. (or see attached)
However, pursuant to 18 U.S.C. § 3644(i), all nonfederal victims must be paid in full prior to the United States
receiving payment.


Names and                     *Total                         Amount of                     Priority Order or
Addresses of Payees           Amount of Loss                 Restitution Ordered           % of Payment
FDIC (For IndyMac Mortgage Services)                         $ 463,857.50
Restitution Payments
Attn: Mike Stanislao
P.O. Box 971774
Dallas, Texas 75397-1774

TOTAL:                                                       $2,043,904.82
(See attachment for additional payees.)

X       If applicable, restitution amount ordered pursuant to plea agreement. $2,043,904.82
        The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or
        restitution is paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. §
        3612(f). All of the payment options on Sheet 5, Part B may be subject to penalties for default, pursuant to
        18 U.S.C. § 3612(g).

X       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
X       The interest requirement is waived for the      fine and/or X restitution.
        The interest requirement for the    fine and/or      restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title
18, United States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
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                                                                                                               Judgment 4
AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 5, Part B - Schedule of Payments
Defendant: GERRI J. LILES, a/k/a Gerri Jarman Liles
Case Number: 1:10-CR-00277-004
                                    SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be
due as follows:
A       X Lump sum payment of $ 2,0434,004.82 due immediately, balance due
            not later than          , or X in accordance with C,         D, E or X F below; or
B           Payment to begin immediately (may be combined with C, D, E or F below); or
C          Payment in          (e.g., equal, weekly, monthly, quarterly) installments of $        over a
        period of        (e.g., months or years), to commence           (e.g., 30 or 60 days) after the date
        of this judgment; or
D           Payment in          (e.g., equal, weekly, monthly, quarterly) installments of $        over a
        period of        (e.g., months or years), to commence           (e.g., 30 or 60 days) after release
        from imprisonment to a term of supervision; or
E           Payment during the term of supervised release will commence within            (e.g., 30 or 60
        days) after release from imprisonment. The court will set the payment plan based on an
        assessment of the defendant's ability to ay at that time; or
F       X Special instructions regarding the payment of criminal monetary penalties: Payment to the
victims will be on a pro rata basis. Restitution is due immediately and payable in full, and is to be
paid through the Clerk, U.S. District Court. If full restitution is not immediately paid, as a special
condition of probation, the Probation Office shall pursue collection in installments to commence
no later than 30 days after date of this order. If restitution is to be paid in installments, the Court
orders that the defendant make at least minimum monthly payments in the amount of $100.00.
The defendant is ordered to notify the Court of any material change in her ability to pay
restitution. The Probation Office shall request the Court to amend any payment schedule, if
appropriate. No interest shall accrue on this debt due to the defendant’s limited financial
resources.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalty payments, except those payments made through
the Federal Bureau of Prisons' Inmate Financial Responsibility Program, are to be made to the clerk of
court, unless otherwise directed by the court, the probation officer, or the United States attorney.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties
imposed.

X       Restitution is to be paid jointly and severally as set out in “Appendix B” of the Presentence
        Investigation Report, which is attached hereto.
        The defendant shall pay the cost of prosecution.
        The defendant shall pay the following court cost(s):
        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4)
fine principal; (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution
and court costs.
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                                                                                                Judgment 5

AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 3 Continued - Supervised Release
Defendant: GERRI J. LILES, a/k/a Gerri Jarman Liles
Case Number: 1:10-CR-00277-004

                          SPECIAL CONDITIONS OF SUPERVISION
1) The defendant is prohibited from making major purchases, incurring new credit charges, or
opening additional lines of credit without the approval of the Probation Officer, until such time as
the financial obligations imposed by this court have been satisfied in full.

2) The defendant shall provide the Probation Office access to any requested financial information.

3) The defendant shall continue to address any mental health issues and shall participate in any
mental health treatment programs recommended by the Probation Office.

4) The defendant shall make restitution payments as set forth on Sheets 5, Part A & Part B of this
Judgment.
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                                                                                                      Judgment 6
AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 5 – Continued – Criminal Monetary Penalties
Defendant: GERRI J. LILES, a/k/a Gerri Jarman Liles
Case Number: 1:10-CR-00277-004

                         ADDITIONAL RESTITUTION PAYEES
Names and                                             Amount of
Addresses of Payees                                   Restitution Ordered
Fannie Mae                                            $     519,442.28
Attn: Accounting
14221 Dallas Parkway, Suite 1000
Dallas, Texas 75254-2916

U.S. Bank National                                            501,950.00
Legal Department
4801 Frederick Street
Owensboro, Kentucky 43201

Green Tree Servicing, LLC                                      85,349.94
Corp. Legal Department
300 Landmark Towers
345 St. Peter Street
St. Paul, Minnesota 55102

Aurora Loan Services, LLC                                     120,835.00
c/o Regina Lashley, Senior VP
2617 College Park Drive
Scottsbluff, Nebraska 69361

Accredited Home Lenders, Inc.                                 109,500.00
c/o James Ransom, VP
9915 Mira Mesa Boulevard, Suite 120
San Diego, California 92131

Federal Home Loan Mortgage Corporation                        242,970.10
c/o Freddie Mac
8200 Jones Branch Drive
McLean, Virginia 22101
